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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS

UNITED STATES ex rel. RONALD J.         )
STRECK,                                 )
                                        )
            Relator,                    )
                                        )   Case No. 1:14-cv-09412
     v.                                 )
                                        )   Hon. Judge Harry D. Leinenweber
TAKEDA PHARMACEUTICALS                  )
AMERICA, INC., et al.,                  )
                                        )
            Defendants.                 )

  MEMORANDUM OF LAW IN SUPPORT OF ELI LILLY AND COMPANY’S
MOTION PURSUANT TO FEDERAL RULES OF CIVIL PROCEDURE 50(b) AND 59
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         Eli Lilly and Company (“Lilly”) moves for judgment as a matter of law or a new trial on

each of Relator’s claims under Rules 50 and 59. Relator has failed to carry his burden of showing

that Lilly knowingly filed material false claims, and numerous other legal defects require judgment

as a matter of law in Lilly’s favor, or at minimum, a new trial.

         Specifically, (1) there is no serious dispute that the elements of collateral estoppel are

satisfied here, and the Seventh Circuit requires the Court to reach the merits of this defense; (2)

the False Claims Act’s (“FCA’s”) statute of limitations bars Relator’s claims prior to November

24, 2008; (3) the jury awarded damages for state-law claims that Relator has expressly conceded

are legally invalid; (4) Relator categorically failed to meet his burden on scienter; (5) Relator

cannot show objective knowledge under Safeco Ins. Co. of America v. Burr, 551 U.S. 47 (2007);

(6) the government’s knowledge of Lilly’s conduct negates any inference of scienter; (7) Relator’s

legally incorrect and prejudicial arguments, and the Court’s erroneous jury instructions, require a

new trial; (8) Relator cannot show that Lilly’s AMP submissions were false; (9) the final AMPs

submitted after April 1, 2016 included PIV and therefore were not false; (10) Relator has failed to

prove materiality and the jury received the wrong instruction; (11) Relator’s claims prior to March

30, 2010 fail under the public-disclosure bar; and (12) Relator has not proven causation. 1

                                                 ARGUMENT

         Rule 50(b) permits a party to “file a renewed motion for judgment as a matter of law,” and

“an alternative . . . request for a new trial under Rule 59.” Fed. R. Civ. P. 50(b); see also Baugh

v. Cuprum S.A. De C.V., 2015 WL 9304338, at *2 n.2 (N.D. Ill. Dec. 22, 2015) (explaining that

the “same standard governs” between a Rule 50(a) and Rule 50(b) motion). The evidence at trial

and Relator’s subsequent statements to the Court have only confirmed that the Court should grant


1
     Unless otherwise indicated, each argument below applies to all of Relator’s claims.



                                                     1
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judgment as a matter of law or order a new trial.

I.       LILLY IS ENTITLED TO A NEW TRIAL BECAUSE COLLATERAL ESTOPPEL
         BARS RELATOR FROM PROVING THAT LILLY ACTED WITH SCIENTER
         PRIOR TO FEBRUARY 1, 2012.

         As Lilly explained in its previous motions, Relator is collaterally estopped from proving

scienter prior to February 1, 2012, and the Court should order a new trial on only those claims that

have not already been resolved against Relator. He litigated—and lost—the “exact same” scienter

issue in Streck I, fulfilling each of the doctrine’s elements, see Dkt. 476 at 13; Dkt. 402 at 6–12:

•     Same Issue: Relator admits Streck I and this lawsuit involve “exactly” the same FCA claims
      accusing drug manufacturers of the same conduct. U.S. ex rel. Streck v. Allergan, Inc., 894 F.
      Supp. 2d 584, 589 (E.D. Pa. 2012) (“Streck I”); Tr. 119:11–12. In other words, he has
      abandoned his prior argument that the issue in Streck I was not “the same.” Dkt. 424. at 7.
      Both cases involve identical allegations and legal arguments by Relator—including regarding
      the Rebate Agreement and “cumulative requirement”—and the same objective scienter
      standard. Compare Dkt. 77 ¶ 24 (alleging Lilly’s decision to use Price Increase Value (“PIV”)
      to offset service fee payments “provid[ed] Lilly with a convenient, but illegal, method to
      exclude price increases from its AMP calculations.”), with Streck I (E.D. Pa.), Dkt. 59–1 ¶ 16
      (similar allegations for the Streck I service fee defendants); see also Dkt. 402 at 6–9.

•     Actually Litigated: The district court dismissed Relator’s claims in Streck I because omitting
      PIV from Average Manufacturer Price (“AMP”) calculations was “not unreasonable, let alone
      reckless,” and the Third Circuit affirmed on that basis. Streck I, 894 F. Supp. 2d at 600; 746
      F. App’x 101, 105 (3d Cir. 2018).

•     Essential to the Final Judgment: Both the district court and Third Circuit in Streck I held that
      Relator could not establish scienter and that issue was the basis for the final judgment.

•     Fully Represented: This factor is “plainly” satisfied because this case and Streck I involve
      the same Relator with the same counsel.

         Relator has never seriously disputed these elements, and in ruling on Lilly’s motion in

limine, this Court said nothing to suggest that it doubted the merits of Lilly’s collateral estoppel

argument. 7/19/22 Hr’g Tr. 6–8. Instead, Relator urged the Court to avoid the merits because

Lilly had purportedly waived this defense, and the Court denied Lilly’s motion on this basis. Id.

6:21–25. But Relator’s arguments and the Court’s conclusion are contrary to Seventh Circuit law.

         A.      Lilly Preserved Its Collateral Estoppel Defense.


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       Lilly preserved its collateral estoppel argument for three independent reasons.

       First, Lilly preserved its collateral estoppel defense by moving in limine on this issue and

including the defense in the pretrial order. The Seventh Circuit has held including a defense in a

pretrial order independently preserves the defense because “[p]retrial orders supersede the

pleadings.” Vaughn v. King, 167 F.3d 347, 352 (7th Cir. 1999) (“Because the issue . . . was

presented in the pretrial order, the plaintiffs’ claim that they were unfairly surprised by the

submission of the issue to the jury is without merit, and it cannot be said that the defendants waived

reliance upon it.”); see also, e.g., Lubke v. City Of Arlington, 455 F.3d 489, 499 (5th Cir. 2006)

(no waiver where party raised affirmative defense for the first time in a motion in limine).

       Moreover, Relator is estopped from asking the Court to disregard the pretrial order because

that would directly contradict his prior statute-of-limitations argument that “the pretrial statement

supersedes anything pleaded.” Tr. 1401:17–19 (emphasis added). Having “prevail[ed] in one

phase of a case on [that] argument,” Relator is now estopped from “relying on a contradictory

argument to prevail in another phase.” New Hampshire v. Maine, 532 U.S. 742, 749 (2001).

       Second, Lilly has explicitly and repeatedly raised its collateral estoppel defense from the

outset of this litigation. In its motion to dismiss, Lilly explained why each element of collateral

estoppel applied to Relator’s claims and specified that the defense applied “through February 1,

2012.” Dkt. 75 at 16 n.14; see also Dkt. 87 at 18 n.15; Dkt. 105 at 9–10. The Court declined to

address this issue in its motion to dismiss ruling. Eight months later, Lilly also raised this defense

in its Answer by pleading its “estoppel” defense. Dkt. 128 at 45. Lilly has provided ample

authority that raising “estoppel” in an answer suffices to preserve collateral estoppel, particularly

because Lilly had also provided a lengthy explanation of the exact legal and factual basis of its

argument in its motion to dismiss. Dkt. 454 at 1-2 (collecting authority). These filings put Relator




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on notice that Lilly intended to raise a collateral estoppel argument based on Streck I, and Relator

never moved to strike the defense, or even argued waiver until the Court raised the issue of waiver

sua sponte. 7/13/22 Hr’g Tr. 28:8-9. The entire “purpose in requiring a defendant to plead an

affirmative defense is to give the plaintiff notice and a chance to respond.” McCormick v.

Braverman, 451 F.3d 382, 396 n.10 (6th Cir. 2006). Lilly’s motion to dismiss and answer

communicated the collateral estoppel defense that it wished to raise, and this sufficed to preserve

these arguments. Massey v. Helman, 196 F.3d 727, 735 n.5 (7th Cir. 1999) (holding that even

when a defendant did not raise an affirmative defense in its answer, “they adequately preserved

the affirmative defense by making the argument in their motion to dismiss”).

       Third, the Court must consider the defense because Relator had ample chance to argue the

issue. The Seventh Circuit has held that “a delay in asserting an affirmative defense waives the

defense only if the plaintiff was harmed as a result.” Curtis v. Timberlake, 436 F.3d 709, 711 (7th

Cir. 2005) (emphasis added); see also Williams v. Lampe, 399 F.3d 867, 871 (7th Cir. 2005) (there

is no waiver so long as a plaintiff (1) “has an opportunity to respond to a late affirmative defense,”

and (2) “does not suggest any prejudice to her from the defendants’ delay”). Here, the issue was

fully aired with seven briefs and two arguments on it. Dkts. 402, 424, 439, 451, 452, 453, 454.

       Finally, the fact that Lilly chose not to raise collateral estoppel at summary judgment is

irrelevant. A defendant “simply does not waive [affirmative] defenses” by declining to raise them

at summary judgment. Est. of Burford v. Acctg. Prac. Sales, Inc., 851 F.3d 641, 645 (7th Cir.

2017) (emphasis added) (holding that “[i]t is not unusual or unfair for a defendant” to choose to

assert one legal defense but not others at “summary judgment,” and that this does not result in

waiver); Dkt. 452 at 5 n.1 (collecting cases). Depriving Lilly of the opportunity to raise this

defense on the basis that it did not raise the defense at summary judgment is reversible error.




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Kulzer v. Pittsburgh-Corning Corp., 942 F.2d 122, 125 (2d Cir. 1991) (reversing district court for

finding waiver because “assertion of the defense in the defendant’s answer, rather than in its prior

motions for dismissal and summary judgment, was sufficient and timely”).

       B.      The Mendoza Exception to Collateral Estoppel Does Not Apply Here.

       Relator separately tried to avoid the consequences of the Court’s opinion in Streck I by

invoking the rule that nonmutual collateral estoppel cannot be applied against “the government.”

But Relator cannot rely on that doctrine because the government “is not a ‘party’ to the litigation”

when, as here, it “has declined to intervene in a privately initiated FCA action.” U.S. ex rel.

Eisenstein v. City of New York, 556 U.S. 928, 937 (2009). The Seventh Circuit has made clear that

Eisenstein is the Supreme Court’s “most recent word on the relationship between the relator and

the government in a qui tam case in which the government has declined to intervene” and should

not be limited to its facts. United States v. UCB, Inc., 970 F.3d 835, 843 (7th Cir. 2020).

       This Court has previously commented that the rule at issue in Eisenstein was limited to

jurisdictional issues, 7/19/22 Hr’g Tr. 7:10-13, but Relator has not cited and cannot cite a single

case suggesting that Eisenstein is so narrow. See 556 U.S. at 938 n.4. In fact, courts have

repeatedly applied Eisenstein to non-jurisdictional issues, including collateral estoppel. See, e.g.,

United States v. Whyte, 918 F.3d 339, 346 (4th Cir. 2019) (applying Eisenstein to hold that

government was not a party for purposes of collateral estoppel when criminal defendant sought to

estop the Department of Justice using non-intervened case); U.S. ex rel. Gilbert v. Virginia Coll.,

LLC, 305 F. Supp. 3d 1315, 1322 (N.D. Ala. 2018) (applying Eisenstein to the FCA’s public-

disclosure bar, which is not jurisdictional). The only reason Eisenstein mentions “jurisdiction”

was to reject the argument that it should carve out a special exception based on “harsh

consequences.” 556 U.S. at 938 n.4. It did not suggest that district courts can create novel

exceptions to Eisenstein for non-jurisdictional rules, especially here where collateral estoppel


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would lead to the commonsense result of binding Relator to his own prior lawsuit. See Harris v.

McDonald, 737 F.2d 662, 666 (7th Cir. 1984) (“Our duty is to decide cases based upon applicable

Supreme Court precedent, not to engage in a legal critique of that precedent.”). Eisenstein is

binding, on-point, and dispositive of whether the government is a “party” here.

       If there were any doubt as to whether Relator’s argument is wrong, he has not—through

three rounds of briefing—cited a single case applying the Mendoza exception to a non-intervened

case involving collateral estoppel. See Dkt. 454 at 2 (explaining that Relator’s cited cases have

nothing to do with issue preclusion). In contrast, Lilly has cited many cases applying collateral

estoppel to relators in non-intervened cases. Dkt. 452 at 10 n.3 (collecting cases). This includes

the Fifth Circuit’s decision in U.S. ex rel. Gage v. Rolls-Royce N.A., Inc., 760 F. App’x 314 (5th

Cir. 2019), which applied non-mutual offensive collateral estoppel in a non-intervened case—the

precise situation here. Id. at 319. To hold otherwise would require this Court to create an

unprecedented exception to the doctrine of collateral estoppel that directly contradicts Supreme

Court and circuit precedent.

       Here, too, Relator cannot argue that Lilly is asserting issue preclusion against the

government. In opposing Lilly’s motion to dismiss, Relator successfully argued the public

disclosure bar did not apply because Streck I was not a hearing “in which the Government or its

agent is a party” because the government did not intervene. Dkt. 99 at 9 (emphasis added); see

also Ex. A, 11/16/20 A. Costello Ltr. at 1 (emphasis added) (Government explaining Touhy

regulations apply only “in proceedings in which the federal government is not a party”).

II.    THE FCA’S STATUTE OF LIMITATIONS BARS RELATOR’S CLAIMS PRIOR
       TO NOVEMBER 24, 2008.

       The FCA’s statute of limitations bars Relator’s claims prior to November 24, 2008. As

Lilly explained in its Rule 50(a) Motion, a “civil action under [the FCA] may not be brought” (1)



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“more than 6 years after the date” of the alleged violation, or (2) “more than 3 years after the date

when facts material to the right of action are known or reasonably should have been known by the

official of the United States charged with responsibility to act in the circumstances,” whichever is

later. 31 U.S.C. § 3731(b)(1), (2); Dkt. 476 at 2–3.

       The six-year statute of limitations bars claims before November 2008 because Relator filed

this lawsuit on November 24, 2014. See U.S. ex rel. Bellevue v. Universal Health Servs. of

Hartgrove, Inc., 2015 WL 1915493, at *4 (N.D. Ill. Apr. 24, 2015). And Relator cannot salvage

his pre-2008 claims by arguing the government only became aware of the facts underlying his

claim within three years of his 2014 lawsuit because the government knew the “facts material to

the right of action” when Relator filed his Pennsylvania lawsuit in 2008. By his own admission,

that 2008 lawsuit against Lilly concerned “exactly” the same allegations as this case. Tr. 119:11–

12. Relator was required to serve a “copy of the complaint and written disclosure of substantially

all material evidence” on “the Government.” 31 U.S.C. § 3730(b); see also Dkt. 87 at 34 (Lilly’s

motion to dismiss arguing three-year provision did not apply because of Streck I). Thus, in 2008

at the latest, the government was aware of “facts material” to this lawsuit, meaning Relator needed

to file his complaint by 2011 at the latest to salvage some of his claims. 31 U.S.C. § 3730(b)(2).

       At oral argument on Lilly’s Rule 50(a) motion, Relator incorrectly claimed that he could

invoke a “longer 10-year statute of limitations.” Tr. 1399:25–1400:1. The FCA provides that the

3-year government-knowledge provision cannot extend the statute of limitations more than 10

years after the alleged violation. 31 U.S.C. § 3731(b)(2). There is no separate “10-year” statute

of limitations, and Relator’s 2014 lawsuit seeks only damages extending back 9 years (2014 to

2005), so the 10-year statute of repose is not implicated. Dkt. 1 (2014 initial complaint).

       Relator also claimed that Lilly waived its statute-of-limitations defense by not including it




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in the pretrial order or at summary judgment. Tr. 1399:16–18; 1401:18–19. Relator is wrong.

Lilly raised its statute-of-limitations defense in its motion to dismiss, explained the legal and

factual basis for the defense, and then when the Court did not address the argument in its motion

to dismiss ruling, Lilly raised the defense again in its Answer. Dkt. 87 at 33–34; Dkt. 122; Dkt.

128 at 47. The Seventh Circuit has consistently held that “a party must plead affirmative defenses

. . . in its answer to properly preserve them,” and that is exactly what Lilly did here. Kaczmarek

v. Rednour, 627 F.3d 586, 592 (7th Cir. 2010); Massey, 196 F.3d at 735 n.5.

        The Seventh Circuit is equally clear that Lilly was not required to raise this defense in the

pretrial order to preserve it. Calderon v. Witvoet, 999 F.2d 1101 (7th Cir. 1993). In Calderon, the

Seventh Circuit reversed the district court and held that a party had not “waived the defense of the

statute of limitations by not listing it in the final pretrial order” because the party “pleaded the

statute of limitations in their answer.” Id. at 1108. The Court further explained that there was no

need for the defendant to raise this issue in the pretrial order because it was “not an issue for trial.”

Id. (emphasis in original). Calderon requires the same result here because there is no evidentiary

dispute about whether the government knew about Lilly’s conduct when Streck filed this lawsuit.

        It is equally well-established that Lilly had no obligation to raise its statute of limitation

defense at summary judgment. See supra at 4; Burford, 851 F.3d at 645. Lilly’s decision to move

for summary judgment under Safeco, which would have disposed of the entire case, does not

foreclose Lilly from raising additional defenses under Rule 50, and to hold otherwise would

constitute reversible error. Id.; Kulzer, 942 F.2d at 125.

III.    THE VERDICT MUST BE VACATED BECAUSE IT IS BASED ON LEGALLY
        INVALID STATE-LAW CLAIMS.

        Relator brings claims under the FCAs of various States and the District of Columbia. Dkt.

77. However, many of these state claims seek damages and penalties from before that State



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enacted its FCA. Relator is not permitted to bring claims from when there was no statute in place.

Streck I, 894 F. Supp. 2d at 605 (dismissing claims after effective dates of state FCAs).

       Relator has already expressly conceded that many of his claims are invalid. In 2018, Lilly

moved to dismiss in part many of Relator’s state-law claims to the extent that they sought to

recover for conduct before the relevant statute was enacted, and for other state-specific defects.

Dkt. 87 at 34–35. In response, Relator explicitly “agree[d] to dismissal” of many of his state-law

claims, and even identified the time periods when his claims were invalid. Dkt. 100 at 30–31.

       But Relator backtracked on this concession at trial and included damages from these

admittedly impermissible periods in Dr. Kimelblatt’s damages calculations, which formed the

basis of the jury’s verdict. RX-30 at 9 (limiting certain states because of dates of enactment, but

not others that Relator has conceded). In other words, the $61,229,217 damages figures that Dr.

Kimelblatt presented and the jury awarded explicitly includes damages that Relator has admitted

he is not entitled to recover. Id. at 9 & n.7. Relator also seeks state penalties corresponding to

certain periods where he has agreed to dismiss his claims. Dkt. 492 at 2 (penalties stipulation).

       Relator’s Colorado claims illustrate why the judgment is legally erroneous. Relator

explicitly conceded that he “agrees to dismissal [of his Colorado claims] before . . . 5/26/2010.”

Dkt. 100 at 30. Relator acknowledged this point again after trial in his proposal for the number of

penalties, where he stated that the “Effective Date” of the Colorado statute is “5/26/2010.” Ex. B,

8/3/22 DeSantis Email. Nevertheless, neither Relator nor Dr. Kimelblatt adjusted the damages

calculations to account for the effective date of the Colorado statute. The jury therefore awarded

damages for Relator’s Colorado claims prior to 2010 even though he had abandoned those claims

and acknowledged that they are legally invalid. Id.; see also 5/21/21 Kimelblatt Damages Detail

(“incorporated herein by reference” at RX-30 at 8 n.6) (including Colorado damages for 2005–




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2010 in, among other places, Tab 1 damages calculations).

          In total, Relator has conceded that the effective date or other legal flaws limit his claims

under the laws of the following 12 states, and he cannot (and has not tried) to walk back this

concession: Colorado (Count V) (eff. 5/26/2010); Connecticut (Count VI) (eff. 10/5/2009);

Georgia (Count IX) (eff. 5/24/2007); Indiana (Count XII) (eff. 5/11/2005); Iowa (Count XIII) (eff.

7/1/2011); Maryland (Count XV) (all claims); Minnesota (Count XVIII) (eff. 7/1/2010); New

Jersey (Count XXI) (eff. 3/13/2008); New Mexico (Count XXII) (all claims); New York (Count

XXIII) (eff. 4/1/2007); Oklahoma (Count XXV) (eff. 11/1/2007); Rhode Island (Count XXVI)

(eff. 7/1/2007). 2 Nevertheless, Relator improperly sought damages from before these dates.

          Because the jury has awarded damages based on legally invalid claims, the current verdict

is “based on an error of law” and must be vacated. See e360 Insight, Inc. v. Spamhaus Project,

658 F.3d 637, 648 (7th Cir. 2011) (vacating damages award because the plaintiff “failed to offer

any evidence that would have allowed the district court to determine what portion of its” claimed

damages it was legally entitled to recover); Matter of Greenig, 152 F.3d 631, 635 (7th Cir. 1998)

(noting the established rule that “a trial verdict is binding but may be reversed if it is founded on

legal errors”); Potts v. Clowdis, 360 Ga. App. 581, 587, 859 S.E.2d 875, 880 (2021) (vacating

judgment because it appeared that the trial court had entered a “verdict that included damages for

dismissed claims”). Lilly raised these issues in its Rule 50(a) motion, but Relator failed to remedy

this fundamental defect in his damages presentation. See Dkt. 476 at 18. The Court should use

Rule 50(b) and Rule 59 to correct this legal error and order a new trial where Relator can rectify


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      Specifically, Relator has failed to account for these limitations as follows: for Colorado, Georgia,
      Indiana, New Jersey, Oklahoma, and Rhode Island, the jury awarded damages based on legally invalid
      claims. See RX-30 at 9 (listing states for which Dr. Kimelblatt made adjustments, but not these ones).
      For New Mexico and New York, the jury awarded damages and Relator seeks penalties based on legally
      invalid claims. Id.; Dkt. 492 at 2.



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these admitted flaws in his damages presentation. Relator’s state-law claims also fail on each of

the other grounds raised in this motion. Streck I, 746 F. App’x at 105 n.3.

IV.    THE COURT SHOULD GRANT JUDGMENT AS A MATTER OF LAW TO
       LILLY, OR ORDER A NEW TRIAL, ON SCIENTER.

       Lilly incorporates and renews the arguments raised in its Rule 50(a) Motion that Relator

cannot prove Lilly acted with “actual knowledge,” “deliberate ignorance,” or “reckless disregard”

for the truth or falsity of its AMP submissions. Dkt. 476 at 3–11; 31 U.S.C. § 3729(a)(1)(A), (b).

First, Relator failed to introduce evidence that Lilly “knowingly” violated the FCA, and the verdict

was against the weight of the evidence. Second, Relator cannot prove scienter under Safeco.

Third, the fact that Lilly knew that the government knew about Lilly’s practices negates any

inference of scienter.

       A.      Relator Failed To Introduce Evidence That Lilly Acted “Knowingly.”

       The FCA requires Relator to prove Lilly “knowingly” violated the law, defined as “actual

knowledge,” “deliberate ignorance,” or “reckless disregard.” 31 U.S.C. § 3729(a)(1)(A), (b).

Because the FCA is a fraud statute that imposes punitive liability, its “scienter requirement is

‘rigorous’” and “demanding.” U.S. ex rel. Proctor v. Safeway, Inc., 30 F.4th 649, 658 (7th Cir.

2022). To meet even the lowest of the FCA’s three definitions of “knowingly,” it is not enough to

prove a defendant submitted a false claim as a result of negligence or a good faith interpretation

of the law. E.g., U.S. ex rel. Berkowitz v. Automation Aids, Inc., 896 F.3d 834, 842 (7th Cir. 2018).

       No reasonable juror could conclude that Lilly acted “knowingly” based on the evidence

presented at trial. On the contrary, that evidence overwhelmingly established that Lilly held a

good faith belief that its AMP calculations complied with the law. Dkt. 476 at 3–6. The witnesses

at trial consistently testified that they believed Lilly complied with the law. E.g., Tr. 238:1–10;

277:7-10; 356:14–22; 379:11–15; 381:15–25; 397:3–21; 402:6–15. Heather Dixson, the person



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responsible for Lilly’s AMP methodology, testified that she believed at the time that Lilly’s

approach complied with the 1991 Rebate Agreement, CMS regulations, and all other applicable

law. E.g., Tr. 879:1–17; 880:22–881:22. Relator never seriously disputed the genuineness of her

belief; just the opposite, he conceded Ms. Dixson “may have made a good faith decision at the

time” (before arguing that it should not matter because Lilly is a large company). Tr. 1727:21-22,

1620:15-16, 1623:1-12. The evidence also demonstrated that Lilly’s government-pricing practices

were the “gold standard in the industry” with a culture of compliance. Tr. 752:6; 726:1–8; see

also Tr. 559:1–11. Confirming it believed it was following the law, Lilly repeatedly informed the

government of its AMP practices, including its treatment of PIV. E.g., DX-3; Tr. 821:15–22 (2005

communications); DX-98 at 3–4; Tr. 345:22–346:2 (2011 communications); Tr. 356:3–6; DX-102

at 20 n.31; Tr. 377:2–379:18 (evidence regarding audit submission showing precisely how Lilly

treated PIV in its AMP calculations). Relator’s Pennsylvania lawsuit confirmed Lilly’s belief that

its treatment of PIV was lawful, Tr. 1198:9–13, as did an audit by HHS-OIG. DX-125; Tr.

1231:12-18, 381:15-382:16, 367:12-24, 386:9-16.

       Relator presented nothing to counter this extensive evidence that Lilly acted in good faith.

Instead, he repeatedly conflated evidence of (at most) falsity for evidence of scienter, arguing that

Lilly must have known it was required to include PIV in AMP because the law so clearly (in his

view) required it to. E.g., Tr. 99:5–10. But whether Lilly got its AMP calculations wrong does

not prove it knowingly did so. E.g., U.S. ex. rel. Schutte v. Supervalu, Inc., 9 F.4th 455, 463 (7th

Cir. 2021).

       None of Relator’s scienter arguments remotely satisfy his burden. For example, Relator

pointed to a supposed “lack of any documentation,” Tr. 1592:19, but “deficient documentation,

without more, does not properly support” an FCA claim. U.S. ex rel. Stone v. OmniCare, Inc.,




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2011 WL 2669659, at *5 (N.D. Ill. July 7, 2011). To permit liability on the basis of “deficient

documentation” would impermissibly turn the FCA into a “vehicle for punishing garden-variety

. . . regulatory violations.” Proctor, 30 F.4th at 658. Relator faulted Ms. Dixson for her lack of

“diligence,” arguing she should have recognized she was “new to this job,” and “talked to the guy

next to her who trained her” to seek “guidance.” Tr. 1622:18–23. But it is undisputed that Ms.

Dixson consulted every legal authority Relator claims supports his interpretation. See Tr. 960:20-

961:23, 1072:17-20. There is no evidence she recklessly disregarded any law, only that she

interpreted it differently from Relator.

       Lacking evidence of fraud, Relator repeatedly urged the jury to find Lilly liable under a

negligence standard. Relator argued to the jury that “Lilly had to act reasonably,” but failed to do

so. Tr. 1584:17–19; id. 1608:16–17 (“We’re clear now. Right? It’s not reasonable [referring to

Lilly’s conduct].”). Tellingly, at the charge conference Relator reiterated: “[i]t is enough to prove

that the defendant failed to do what a reasonable person would have done”—the very definition of

negligence. Tr. 1532:13–14. And “negligence is not actionable” under the FCA. U.S. ex rel.

Rueter v. Sparks, 939 F. Supp. 636, 638 (C.D. Ill. 1996) (granting Rule 50 motion where employee

testified he thought he was acting properly under the relevant regulations).

       B.      Relator Has Failed To Meet The FCA’s Objective Knowledge Requirement.

       Lilly also renews its argument that it is entitled to judgment as a matter of law because

Relator cannot prove objective knowledge under Safeco Ins. Co. of America v. Burr, 551 U.S. 47

(2007); Dkt. 476 at 6–11; Dkts. 315, 328, 338. Lilly’s conduct was consistent with an “objectively

reasonable” interpretation of the law at the time, and “there was no authoritative guidance warning

against its” view. Schutte, 9 F.4th at 468; see U.S. ex rel. Purcell v. MWI Corp., 807 F.3d 281,

290-91 (D.C. Cir. 2015) (overturning jury verdict for government and entering judgment for

defendant under Safeco). And while subjective intent is irrelevant under Safeco, trial has proven


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that Lilly actually, genuinely believed the objectively reasonable interpretations of the law that

Relator has derided in prior briefing as “post hoc.”

        First, Lilly’s exclusion of PIV from AMP was an objectively reasonable interpretation of

the applicable law. “The objectively reasonable inquiry” under Safeco “hinges on the text of the

statute or regulation that the defendant allegedly violated.” Schutte, 9 F.4th at 468; Safeco, 551

U.S. at 69. During the relevant time, the applicable statutes defined AMP only as “the average

price paid to the manufacturer for the drug in the United States by wholesalers for drugs distributed

to the retail pharmacy class of trade.” See 42 U.S.C. § 1396r-8(k)(1) (1997); 42 U.S.C. § 1396r-

8(k)(1)(A) (2007); 42 U.S.C. § 1396r-8(k)(1)(A) (2010). Relator concedes this language “is not

overly specific.” Tr. 866:14–18. It did not address whether a contractual provision like PIV was

part of the “price” that is “paid to the manufacturer.” In fact, the Third Circuit has already held

one reasonable interpretation of “price” is the “initial” price paid by the wholesaler to the

manufacturer at the time the manufacturer transfers the drug, before any subsequent price increase

triggers PIV. Streck I, 746 F. App’x at 108. And the Seventh Circuit affirmed in Schutte on the

same reasoning. After noting that the applicable “regulations define U&C [usual and customary]

price without much elaboration,” the court held that “the U&C price definition [was] open to

multiple interpretations.” 9 F.4th at 469. Like price here, (1) “usual and customary” “might mean

the price that is ‘charged’ most frequently for a drug, but it could also indicate the retail rather than

discount price,” and (2) “‘general public’ may mean that discount prices qualify only if applied to

all consumers,” but it “just as easily might encompass any discount program offered to the public,

regardless of whether all consumers take advantage of it.” Id.

        Lilly’s assumption that it could exclude PIV as a component of how it calculated its service

fees was also reasonable. Lilly treated PIV as a component of the service fee, Tr. 1040:15-1041:25,




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and in the 2005 wholesaler contracts, which introduced the service fee, PIV was an offset to the

service fees. DX-10; RX-72 at 27. The 2009 and 2015 wholesaler contract changed the method of

invoicing, but this was a form over substance change that merely impacted the number of invoices

used. RX-76 at 45; Tr. 1136-1137, 1139:12-19. CMS regulations, when in place, instructed

manufacturers to exclude service fees from AMP. 42 C.F.R. § 447.502; 42 U.S.C. § 1396r-8. And

service fees and PIV have the same origins and purpose—ensuring that Lilly adequately

compensated wholesalers without paying more than fair market value for their services. Tr.

797:14-798:19; 691:8–14; DX-3.

       The only source of “law” that Relator alleges unambiguously required Lilly to include PIV

in AMP—the 1991 Rebate Agreement—was neither a statute nor regulation. See, e.g., Tr. 130:10–

14, 1586:9. Rather, like the PBM contracts in Schutte and Proctor defining “usual and customary

price” (the key term in dispute in those cases), the Rebate Agreement is a contract that interprets

and applies the statutory and regulatory definition of AMP. Proctor, 30 F.4th at 660 (holding

PBM contracts are not even authoritative guidance, let alone the relevant statute or regulation,

because they did not come from the relevant agency). The U.S. Department of Health & Human

Services (“HHS”), of course, lacks authority to change the statutory and regulatory definition of

AMP by contract. See Azar v. Allina Health Servs., 139 S. Ct. 1804, 1810 (2019) (CMS may not

make binding rule absent notice-and-comment rulemaking); Proctor, 30 F.4th at 663. That

agreement cannot satisfy Relator’s burden at Step One of Safeco. And regardless, Lilly’s conduct

was consistent with the Rebate Agreement (as explained more fully below); it could not have

rendered Lilly’s interpretation unreasonable.

       Second, no authoritative guidance warned Lilly away from its reasonable interpretation of

the law. See Schutte, 9 F.4th at 471 (“[A]uthoritative guidance must have a high level of specificity




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to control an issue.”). Even if the Rebate Agreement could offer authoritative guidance (which it

is not), neither it nor the language of any CMS rule or guidance document could have warned Lilly

away because they were consistent with Lilly’s exclusion of PIV from AMP. The Rebate

Agreement states that AMP “must be adjusted . . . if cumulative discounts or other arrangements

subsequently adjust the prices actually realized.” RX-63 (“Rebate Agreement”) § I.1(a). The

Rebate Agreement, however, never defines “cumulative discounts” or “other arrangements,” let

alone defines them to specifically include PIV in AMP calculations. Tr. 1154:18-1156:18. Relator

asserts that “cumulative discounts” must mean “any arrangement which affects the prices.” Tr.

99:5-7; Tr. 1717:15–16. But the natural reading of “discounts” refers only to decreases in price,

which is not the function of PIV, and Relator did not even argue at trial that it was a discount.

Relator cannot instead rely on the catch-all term “other arrangements” to mandate including PIV

in AMP.    Relator still has not identified a single source that has ever interpreted “other

arrangements” to include something that increases PIV, and he has never disputed that every

example from CMS has always decreased PIV. See, e.g., RX-64 (Program Release No. 2) at 2;

RX-65 (Program Release No. 14) at 1; 72 Fed. Reg. 39,142 (July 17, 2007); Tr. 1159:6-1160:18,

1156:12-1157:25. Moreover, reading this language to undo the cumulative discounts requirement

would violate the common-sense interpretative principle that “general words are construed to

embrace only objects similar in nature to those objects enumerated by the preceding specific

words.” Wash. State Dep’t of Social & Health Servs. v. Guardianship Estate of Keffeler, 537 U.S.

371, 384 (2003). The Rebate Agreement reinforces that this language applies to decreases to AMP

because it explicitly states that AMP must “include[] cash discounts . . . and all other price

reductions . . . which reduce the actual price paid.” Rebate Agreement § I.1(a). Relator’s

argument is particularly unpersuasive because the Rebate Agreement specifies that “[i]n the




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absence of specific guidance . . . [Lilly] may make reasonable assumptions in its calculations of

AMP.” Rebate Agreement § II.6(i) (emphasis added). The Agreement contemplates that it has

not defined every nuance of AMP calculation and that Lilly its own reasonable assumptions,

expressly deferring to Lilly to make a reasonable interpretation of the applicable authority. 3

         Other than the Rebate Agreement, Relator points to no law even mentioning PIV, let alone

requiring manufacturers to include PIV in AMP. In 2012, in a preamble to a proposed rule, CMS

suggested for the first time that PACs “do not meet the definition of a bona fide service fee as they

do not reflect any service or offset of a bona fide service performed on behalf of the manufacturer.”

77 Fed. Reg. 5318, 5332 (Feb. 2, 2012) (emphasis added). The preamble to a proposed rule is not

authoritative guidance, and it did not “canvass the issue” of whether to include PIV in AMP

calculations. Safeco, 551 U.S. at 70 n.19. Regardless, it supported Lilly’s interpretation. If PACs

are not service fees because they do not generally offset any service, then Lilly’s PIVs were

properly excluded from AMP because they were offsets to bona fide service fees. Tr. 410:3-16.

         CMS confirmed the reasonableness of Lilly’s interpretation with its April 1, 2016 final

rule. That rule’s preamble (also not authoritative guidance) walked back its statement from the

2012 preamble that PACs are not service fees, equivocating: “price appreciation credits would

likely not meet the definition of a bona fide service fee.” 81 Fed. Reg. 5170, 5228 (Ap. 1, 2016)

(emphasis added). Like the preamble to the 2012 proposed Rule, CMS reiterated that its view was

based on its understanding that PACs “are not issued for the purposes of payment for any service

or offset for a bona fide service.” Id. (emphasis added). Thus, again it implicitly suggested that



3
      Relator also points to a 1994 MDRP bulletin that purported to quote the Rebate Agreement but in fact
      used an ellipses to elide the key phrase “cumulative discounts.” RX-65 at 1. Such informal, sub-
      regulatory guidance documents that misinterpret another guidance document lack the force of law, and
      could not have warned Lilly away from its interpretation. Azar, 139 S. Ct. at 1810.



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manufacturers that treat PIV “for the purposes of payment for any service or offset” could

reasonably exclude PIV from AMP. Id. Lilly’s view was consistent with an objectively reasonable

view of existing law, and no authoritative guidance warned otherwise.

       Indeed, the very premise of the Supreme Court’s holding in Safeco was that “Congress

could not have intended” to “treat a defendant . . . as a knowing or reckless violator” who

“followed an interpretation that could reasonably have found support in the courts.” 551 U.S.

47, 70 n.20 (emphasis added). Here, it is not just a theoretical possibility that Lilly’s interpretation

“could reasonably have found support in the courts”; it did, in fact, find support in the Eastern

District of Pennsylvania and the Third Circuit. Streck I, 746 F. App’x at 106. In the Third Circuit’s

view, the regulatory landscape was ambiguous and “susceptible to multiple interpretations, one of

which excludes the price-appreciation credits.” Id. at 108. This Court denied Lilly’s argument

under Safeco because it “didn’t think [the Third Circuit] got it right,” but, respectfully, that was

error. 7/13/22 Hr’g Tr. at 27:3-8. The very fact that multiple courts reached that conclusion

confirms that it was at least objectively reasonable for Lilly to have done so, too.

       Finally, while subjective intent is not relevant under Safeco, the trial record confirms Lilly

genuinely held objectively reasonable beliefs in the legality of its conduct. Lilly’s head of

government pricing offered compelling explanations for why she believed then—and continues to

believe now—that the existing law permitted their approach, as confirmed by Streck I. E.g., Tr.

1018:18–1019:25. As explained above, the only reasonable inference from the evidence at trial is

that Lilly held a good-faith belief that it was calculating AMP in compliance with the relevant

guidance. See supra at 12. Given the complete absence of any authoritative guidance requiring

Lilly to include PIV in AMP, and the multiple reasonable interpretations of the law that supported

that decision, liability here would defy due process, “history and current thinking,” and binding




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precedent. Safeco, 551 U.S. at 70 n.20; Escobar, 579 U.S. at 192.

       C.      HHS’s Knowledge Of Lilly’s Conduct Negates Any Inference Of Scienter.

       Finally, the undisputed fact that Lilly knew that the government knew about Lilly’s conduct

also negates any inference that Lilly acted knowingly. U.S. ex rel. Durcholz v. FKW Inc., 189 F.3d

542, 544-45 (7th Cir. 1999) (“The government’s prior knowledge of an allegedly false claim can

vitiate a FCA action.”). For example, there is not any serious factual dispute that in July 2011

Lilly outlined all of the details of its PIV treatment in a letter delivered to CMS and it detailed its

practices in a 2016 meeting with CMS. DX-98 at 3–4; Tr. 406:14–21. OIG knew about Lilly’s

treatment of PIV in connection with a 2013–2014 audit. Tr. 436:6–17. And as early as 2005, Lilly

informed the government about its treatment of service fees. DX-3.

V.     RELATOR’S PREJUDICIAL AND LEGALLY ERRONEOUS ARGUMENTS
       REQUIRE A NEW TRIAL.

       Relator repeatedly misled the jury with highly prejudicial false statements about the law,

and the jury instructions compounded, rather than corrected the prejudicial errors. A new trial is

required. Ruiz-Cortez v. City of Chicago, 931 F.3d 592, 602-04 (7th Cir. 2019) (ordering new trial

where single statement by party “misled the jury” and there was no “clarifying instruction”).

       First, although falsity alone is insufficient, Dkt. 400-5 at 54 (collecting many binding

cases), Relator repeatedly argued that Lilly should be held liable because it submitted false prices

and needed to repay the government as a result. E.g., Tr. 95:2-4 (arguing that it was not “in

dispute” that Lilly acted “like a tax cheat” because “Judge Leinenweber determined that Lilly

reported false drug prices to Medicaid in the manner I’m describing”); see also id. at 1630:8-24

(similar); id. at 1712:7-23 (similar), 1713:9-14 (similar); id. at 1720:24-25 (similar); id. at 118:7-

12 (similar); id. at 101:19-102:1 (similar).




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          Second, Relator focused the jury on Lilly’s size and profits, and expressly urged the jury

to make Lilly pay because “it’s virtually petty cash to a $300 billion company.” Tr. 1630:22-24;

e.g., id. at 1616:5-9 (similar); Dkt. 488 at 3-4 (citing many more examples). These arguments “are

grounds for a new trial.” U.S. ex rel. Miller v. Bill Harbert Int’l Const., Inc., 608 F.3d 871, 897

(D.C. Cir. 2010); Dkt. 408 at 7-8 (citing cases).

          Third, Relator insisted “[t]his is not a fraud case,” Tr. 1711:2–3, and therefore the scienter

standard is less stringent than fraud, id. at 1710:17-1711:11. The Supreme Court disagrees. E.g.,

Escobar, 579 U.S. at 192 (FCA is a “fraud statute” imposing “punitive” liability).

          Fourth, Relator argued Lilly’s good faith does not matter to whether it acted with scienter,

Tr. 1727:21-22, 1620:15-16, 1623:1-12, when in fact the FCA does not punish “good faith

interpretation[s]” of the law. U.S. ex rel. Proctor v. Safeway Inc., 466 F. Supp. 3d 912, 929 (C.D.

Ill. 2020), aff'd, 30 F.4th 649 (7th Cir. 2022) (citing cases).

          Fifth, over Lilly’s objections, the Court instructed the jury that Lilly had a “duty to

familiarize itself with the” law, Tr. 1739:15-20, and Relator argued Lilly had an absolute duty to

“know” the law. Tr. 1646:6-7. That is incorrect. If a company makes even a “limited,” not

“burdensome,” reasonable inquiry into the law, it has not acted with reckless disregard. E.g., S.

REP. 99-345, 21, 1986 U.S.C.C.A.N. 5266, 5286; Rogan, 2006 WL 8427270, at *19.

          The number of times Relator repeated each of these erroneous arguments throughout trial

resulted in severe and unfair prejudice. Lilly objected to each of these arguments in motions in

limine and at the charge conference, and proposed corrective jury instructions, all of which the

Court denied. 4 As a result, the trial was fundamentally unfair and the verdict cannot stand.


4
      See Dkt. 408 at 1, 7-8 (Lilly’s MIL 7 to preclude Relator from referencing Lilly’s size and profits); Dkt.
      457 (granting MIL 7 only “in part” as to references to drug pricing); Dkt. 457 (granting Relator’s motion
      to preclude reference to FCA’s punitive remedies over Lilly’s objection that “the jury will wrongly
      believe that a court’s falsity finding … ties its hands to rule for a relator so the government can be made


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VI.       LILLY’S STATEMENTS WERE NOT FALSE.

          Lilly also renews and incorporates the argument it raised in its Rule 50(a) Motion that Lilly

is entitled to judgment as a matter of law on all claims on grounds that Lilly’s AMPs were not

false under the law that existed at the time. Dkt. 476 at 16–18.

          A.      No Law Required Lilly To Include PIV In Its AMP Calculations.

          Relator has not presented evidence at any stage of the proceeding that could show Lilly

had a “clear obligation” to include PIV in its AMP calculation. Quinn, 382 F.3d at 445. To prove

falsity, Relator must show that Lilly made a claim or statement “in contravention of a statute,

regulation, or contract.” Thulin v. Shopko Stores Operating Co., LLC, 771 F.3d 994, 998 (7th Cir.

2014). Relator must prove Lilly’s statements to be “objective falsehood[s],” and not just the

product of “differences in interpretation growing out of a disputed legal question.” U.S. ex rel.

Yannacopoulos v. General Dynamics, 652 F.3d 818, 836 (7th Cir. 2011); U.S. ex rel. Lamers v.

City of Green Bay, 168 F.3d 1013, 1018 (7th Cir. 1999). The evidence that Relator relied on at

summary judgment failed to satisfy this standard, and nothing adduced at trial saves his claim.

          Excluding PIV from AMP was an “alternative, objectively reasonable interpretation” of

the statute’s plain language. United States v. Harra, 985 F.3d 196, 215 (3d Cir. 2021). No statute

specifically obliged Lilly to include PIV in AMP or even mentioned PIV. The Medicaid statute

specifies that “bona fide services fees,” including “distribution service fees,” should be

“exclude[d]” from AMP. 42 U.S.C. § 1396r-8(k)(1). The statute never defines “distribution

service fees,” or makes clear whether PIVs—which are part of the computation of the




      whole,” Dkt. 421 at 1); Tr. 1470:19-1471:2 (Lilly objecting to “duty to familiarize” instruction); Tr.
      1461-1478 (Court refusing to instruct jury that “falsity alone [is] insufficient to establish liability,”
      1461:21–1465:6, that “good-faith interpretation” or belief is insufficient, Tr. 1475:15:–1478:20, that
      “regulatory complexity alone does not entail a knowingly false representation,” Tr. 1472:14–1473:10).



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compensation paid by Lilly to distributors—qualifies. See Tr. 239:21–24. Relator’s argument is

especially unfounded in light of the Reasonable Assumption framework, which gave Lilly leeway

where “there is not specific guidance from the government.” Tr. 805:19–806; RX-63 at 7.

       Because the statute does not provide clear guidance, Relator relied on Lilly’s 1991 Rebate

Agreement at summary judgment. Dkt. 312 at 16–18. But as discussed above, nothing in the

Rebate Agreement imposes a clear obligation that Lilly include PIV in AMP (nor is it authoritative

guidance, see supra at 15), and thus the correctness of Lilly’s method was a “disputed legal

question” that cannot support FCA liability. Yannacopoulos, 652 F.3d at 836; Hagood v. Sonoma

Cnty. Water Agency, 81 F.3d 1465, 1477 (9th Cir. 1996) (“[A] disputed legal issue . . . is not

enough to support a reasonable inference that the allocation was false.”).

       No other regulation or guidance clearly required Lilly to include PIV in AMP. See supra

at 15. Relator has his own interpretations of the guidance documents at odds with Lilly’s, but the

Seventh Circuit is clear that mere “differences in interpretation growing out of a disputed legal

question are . . . not false under the FCA.” Lamers, 168 F.3d at 1018 (emphasis added). At worst,

there is a “disputed legal question” about what “Reasonable Assumption” Lilly should have made,

which does not equate to falsity. Id. Lilly is thus entitled to judgment as a matter of law on falsity

for each of Relator’s claims. At the very least, absent the falsity ruling, the evidence in the record

gives “a reasonable jury . . . a legally sufficient evidentiary basis to find” that Lilly’s AMP

submissions were not false, meaning that Relator was not entitled to judgment on falsity. Fed. R.

Civ. P. 50(a). The issue of falsity would thus, at minimum, need to be submitted to the jury.

       B.      The AMPs Lilly Submitted After April 1, 2016 Are Not False for the
               Additional Reason That They Included PIV.

       Lilly also renews its argument that its AMPs submitted after April 1, 2016 did not violate

the FCA because they were restated to include PIV. Dkt. 476 at 17–18. Under federal law, an



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AMP submission that is restated within three years to include PIV is not “false” under the FCA,

and the restated AMP—not the initial submission—is the operative AMP value that governs rebate

liability. 42 C.F.R. § 447.510(b)(1) & (2); 68 Fed. Reg. 51,912, 51,913 (Aug. 29, 2003). Relator

conceded the legal effect that a restatement would have in his closing argument, as he argued to

the jury that Lilly had a “choice” whether “to defend [itself] in court” because it could have “just

paid Medicaid back what it owes.” Tr. 1630:17–22. It is undisputed that on December 20, 2017,

Lilly voluntarily restated its AMPs from April 1, 2016 to December 31, 2017, and the restated

final AMPs include PIV. Dkt. 313 ¶ 121; Dkt. 330 at 48.

       No reasonable jury could award damages or find statutory violations after April 1, 2016.

The FCA permits trebling of “actual damages”: the amount “that puts the government in the same

position as it would have been if the defendant’s claims [or statements] had not been false.” United

States v. Sci. Applications Int’l Corp., 626 F.3d 1257, 1278 (D.C. Cir. 2010). Here, there are no

actual alleged damages after April 1, 2016 because the government received the same net Medicaid

rebates from Lilly pursuant to its restatement as it would have if Lilly’s initial AMPs had included

PIV. Penalizing a defendant for restating its AMPs within the time allowed by law would not be

consistent with “fair notice” and concerns about “open-ended liability.” Escobar, 579 U.S. at 192.

VII.   NO REASONABLE JURY COULD FIND MATERIALITY.

       Lilly renews its motion for judgment as a matter of law because there is not sufficient

evidence of materiality, and requests a new trial because the jury received a misleading—and

highly prejudicial—materiality instruction. Dkt. 476 at 11–13. To establish materiality, Relator

must prove “the government actually attache[d] weight to” the supposed requirement that

manufacturers include PIV in AMP such that Lilly’s failure to comply “significantly affected the

government’s actions.” U.S. ex rel. Prose v. Molina Healthcare of Illinois, Inc., 17 F.4th 732, 740,

743 (7th Cir. 2021). To meet that burden, it is not enough to show that Lilly’s exclusion of PIV


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from AMP resulted in underpaid rebates to Medicaid. Escobar, 579 U.S. at 181, 194. 5 If HHS

would not have corrected Lilly, and told it to include PIV in AMP had it known, then the conduct

was not material, even if it harmed government coffers. Id. At most, that is what the record shows

here. Lilly repeatedly informed HHS that it was excluding PIV from AMP. But HHS never told

Lilly to change its AMPs. Instead, its fraud investigator, OIG, gave Lilly (and the industry) broad

approval in its 2013 audit report regarding AMP calculations. Tr. 436:16–17; U.S. ex rel. Marshall

v. Woodward, Inc., 812 F.3d 556, 563–64 (7th Cir. 2015). And CMS never reduced its payments

to state Medicaid programs to account for Lilly’s exclusion of PIV from AMP, “very strong

evidence that those requirements are not material.” Escobar, 579 U.S. at 181.

         The jury arrived at the opposite conclusion because they were instructed materiality meant

“capable of influencing the payment or receipt of money.” Tr. 1740:3-5. The Supreme Court is

clear that the FCA’s “rigorous” materiality requirement does not end with the statutory language,

and is not satisfied by difference in payment alone or it would be met in “every reverse false claim

case.” Tr. 1487:16-17; Escobar, 579 U.S. at 192-96. Relator admitted that the materiality

instruction the Court gave was “exactly opposite of” the rule that difference in payment is not

enough, Tr. 1487:7-11, and he took advantage of that error, arguing to the jury that materiality was

satisfied merely because Lilly’s conduct “translate[d] to an underpayment of Medicaid rebates.”

Tr. 1625:1-11. The Court denied Lilly’s curative requests for Escobar instructions, Tr. 1483-1493,

stating it “can’t believe that” Escobar’s central holdings are the law. Tr. 1492:9-13. This was

clear and highly prejudicial legal error requiring a new trial.



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  See also, e.g., U.S. ex rel. Petratos v. Genentech Inc., 855 F.3d 481, 491 (3d Cir. 2017) (rejecting argument
that materiality is per se satisfied if “the Government would have paid less claims” in the absence of
defendant’s fraud); accord U.S. ex rel. Streck v. Takeda Pharms. Am., Inc., 2022 WL 595308, at *15 (N.D.
Ill. Feb. 28, 2022) (Leinenweber, J.).



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VIII. RELATOR’S CLAIMS FAIL UNDER THE PUBLIC-DISCLOSURE BAR.

         Lilly also renews and incorporates its Rule 50(a) argument that Relator’s claims with

respect to conduct prior to March 30, 2010 fail under the FCA’s public-disclosure bar. 6 Dkt. 476

at 19–20. Streck I placed into the “public domain” the information Relator’s current allegations

are based upon. Bellevue v. Universal Health Servs. of Hartgrove, Inc., 867 F.3d 712, 717–18 (7th

Cir. 2017). It makes no difference that Relator may have qualified as an “original source” in Streck

I. That “goes to his status as relator in those cases, not this one.” U.S. ex rel. Lisitza v. Par Pharm.

Companies, Inc., 2017 WL 3531678 at *15 (N.D. Ill. Aug. 17, 2017). The FCA “does not permit

jurisdiction in gross just because a relator is an original source with respect to some” other

previously filed claim. Rockwell Int’l Corp. v. United States, 549 U.S. 457, 476 (2007).

IX.      RELATOR HAS NOT PROVEN PROXIMATE CAUSATION.

         Finally, Relator also failed to introduce any evidence of causation. Dkt. 476 at 20. As

explained supra at 18-19, the undisputed evidence shows that the government knew of the conduct

at issue in this lawsuit but nevertheless accepted Lilly’s AMP submissions, which means that

Lilly’s conduct cannot be the proximate cause of any injury. United States v. Luce, 873 F.3d 999,

1014 (7th Cir. 2017); U.S. v. King-Vassel, 728 F.3d 707, 714 (7th Cir. 2013) (“[A]n action that

breaks the chain of causation would relieve a defendant of liability”).

                                                CONCLUSION

         For these reasons, the Court should either grant judgment to Lilly under Rule 50(b) or order

a new trial under Rule 59.




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  While the government has objected to the application of the public-disclosure bar under 31 U.S.C.
§ 3730(e)(4)(A), that provision is “not retroactive” and only permits the government to remove the public-
notice bar for claims after its enactment on March 23, 2010. Dkt. 122 at 11; U.S. ex rel. Bogina v. Medline
Indus., Inc., 2015 WL 1396190, at *2 (N.D. Ill. Mar. 24, 2015).



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Dated: August 31, 2022                  Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       I, Diana M. Watral, hereby certify that on August 31, 2022, a true and accurate copy of

Memorandum of Law in Support of Eli Lilly and Company’s Motion Pursuant to Federal Rules

Of Civil Procedure 50(b) And 59 was served upon counsel of record at the addresses indicated by

CM/ECF electronic notification.



Dated: August 31, 2022

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